Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 1 of 21

EXHIBIT “A”
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 2 of 21

 

 

 

    
 

 

 

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Supreme Count-of;Pennsylvania _—— ee
Cour, Common Pleas {FupiPraceginsigry Use’ Only: FIVER FOR REGOR
‘Doeket No:

 

 

 

 

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The information galleabed on this form is used.salely for caurt administration purposes, This PRO TAONGIATY
supplement er replace the filing carne service of ‘pleadings or other papers as required by law ENE RECCRUNTY, PA

 

 

 

 
  

 

 

 

 

 

Sout ,| Coramencement of Action: /
. @: | ED Complaint 7 Writ of Summons o Petition :
* ’. EE] Transfer froni Another Jurisdiction [ Declaration of Taking
. A !
. Lead Plaintiff's Name: L.vad Defendant's Name:
3 Jeffrey M. Bower National Administrative Service Co., LLC.
' , | Dollar Amount Requested: BJ within arbitration limits
. & Are money damages requested? El¥es [ No: (check onc) [outside arbitration limits
N° Is this a Class Action Suit? Yes EI No Isthisan MDJ Appeal? © Yes El No
‘ A # Name of Plaintiff/A ppellanc’ 's Atlorney:, Jeremy.G. Jackson, Esquire

 

a Check fiere ityou have ao attoriney (are a Self- Represented [Pro Se] Litigani)

 

ty Nature of the Case: Place an “X” to the left of the ONE case-category that most accurately describes your

PRIMARY CASE. If you are making more than. one type of claim, check the one that
you consider most important.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TORT (do not inchide Mass Tort) of ‘CONTRACT (do nor inctucde Judgments) | | CIVIL APPEALS
; Intentional Buyer Plaintiff Administrative Agencies
©) | ED Maticious Prosecution _ (2) Debt Collection; Credit Card’ 1 Board of Assessment
"2" | Fy] Motor Vehicle [ Debt Collection: Other: EL) ‘Board of Elections
| EF] Nuisance Dept. of Transportation
é E] Premises Liability ae I) Statutory Appeal: Other
S$ EJ Product Liability (does not include Ge aaa : os
E. mass tort) . if CO rari eae a —_
, ibe ay iscrimination
Cc A ea ena [J Employment Dispute: Ommer™ 5) Zoning Board
= = P.S.§ 201-1 et seq. © Oiher:
a SS EET Syn: ‘ :
ae BEET EN SBE
a [). Other:
oO MASS TORT .
= 1 Asbestos: { a
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» | EY] Toxie Tort --DES 5 - :
A ede ST REAL PROPERTY MISCELLANEOUS. Fe a
oe E] Other; Ejectment 7] Conimon Law/Statutory Arbitration
: ‘B: i F | A Eminent Domain/Condemnation (7) Declaratory Judgment
‘Ground Rent Mandamos
(7): Landlord/Tenant Dispute i Non-Domestic Relations’
1) — () Mortgage Foreclosure: Residential Restraining Order
oe ESSIONAL LIABLITY Mortgage Foreciosure: Commercial £1 Quo Warranto
Dental Partition Replevin
T -Legal E Quiet Title | Clother:
(I Medical [J Other: =
[7] Other Professional: ;

 

 

 

 

 

 

 

 

Updated 1/1/2011
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 3 of 21

FLED EP agg
rILED-FOR RECORD
U0 tay 5] A I: 42:
JEREMY Mita ss
ceoTaNCHG

IN THE GOURT (OF COMMON. PLEAS. OF CENTRE COUNTY, PENNSYLVANIA
* CIVIL ACTION = LAW"

JEFFREY M. BOWER,
Docket No. 2024.-T2\_

Type of Case:-CIVIL

Plaintiff

“NATIONAL ADMINISTRATIVE 'SERVICE.CO.,
‘LLC, and | ats .
AFFORDABLE AUTO PROTECTION; LLC,. __.. Medical Professional Liability
~ oe 13 : Action (Check if applicable):
‘Defendants.

“Typé:-of Pleading:
Civil Complaint
Filed on Behalf of: Plaintiff

‘Counsel of Record for this Party::

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) Jeremy C. Jackson, Esq.
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PA.321557 PA‘I.D. Number
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 4 of 21

IN'THE COURT OF COMMON PLEAS‘OF CENTRE COUNTY, PENNSYLVANIA’.
CIVIL ACTION - LAW.

Plaintiff No. 2021 - JO

NATIONAL ADMINISTRATIVE SERVICE CO.,
LLG. and
“AFFORDABLE AUTO PROTECTION,. LLC,.

JEFFREY M. BOWER,

Vv,

‘Defendants :

NOTICE TO DEFEND

‘TO THE ABOVE NAMED DEFENDANTS:

“You have: been sued i in.court. If you wish to. defend against the claims set forth in the: following
pages, you must take action within twenty (20) days after this complaint and ‘notice are served,
‘by entering: a written appearance personally or by attorney and filing in. writing with-the court
your defensés or objections to the claims set: forth: against you.. Youare war néd that if you. fail to
do so the casé may proceed without yourand a judgment may be entered against. you by the:court
without further notice-for any money-claimed inthe: complaint or for any other claim or relief
requested by. the. plaintiff. You may lose.money-or Property, or other rights:important to'you.

YOU. SHOULD TAKE THIS PAPER TO YOUR. LAWYER AT ONCE, IF YOU. DO.NOT
HAVE A LAWYER, GO TO OR TELEPHONE, THE OFFICE SET. FORTH BELOW. THIS
OFFICE CAN PROVIDE: YOU WITH INFORMATION ABOUT HIRING: A LAWYER:

IF YOU CANNOT AFFORD. TO HIRE A LAWYER, THIS OFFICE. MAY BE ABLETO .
PROVIDE. YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES: TO ELIGIBLE. PERSONS AT A REDUC ED FEE OR NOFEE..
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 5 of 21

Gourt Administrator
Centre. County Courthouse.
Bellefonte, PA-16823
Telephone: (814).355-6727°

BOWER LAW ASSOCIATES, PLLC.

  
  

    
    

 

> ty
By: “= —
“etemy GHJackson, Esq.
Attor for Plaintiff
' #403 South Allen Street, Suite:210

State College, PA 16801
(814):234-2626 Telephone.
(844) 237-8700.Facsimile.
jjackson@bower-law.com
PA321557-
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 6 of 21

IN THE COURT OF COMMON PLEAS OF CENTRE. COUNTY, PENNSYLVANIA
CIVIL ACTION - LAW

JEFFREY M. BOWER, J
: No. 2021-G&\_

 
 
 
 

Plaintiff
Mo
NATIONAL ADMINISTRATIVE SERVICE CO., : . A
LLC: and , ; : Ai. SS a -
AFFORDABLE AUTO PROTECTION, LLC, 450 7 5.
: = aor = ry! 3
Ale = So!
Defendants: : Chg ee cen OL! EE |
gee = S| 8
COMPLAINT = a \ 4
hae = ee So = \ g
AND NOW, comes Plaintiff Jeffrey M.:-Bower by and through his undersigned & \ e
\

counsel, Jeremy C. Jackson, Esq., and files this Complaint and states’as follows:
4. Plaintiff Jeffrey M. Bower brings this-action under the Telephone Consumer
Protection Act ("TCPA’), 47 U.S.C. §.227, a federal statute enacted in response to
widespread public outrage about the proliferation of intrusive, nuisance telemarketing
practices. See Mims v. Arrow Fin. Servs:, LLC, 132 S. Ct. 740, 745'(2012).
_ THE TELEPHONE CONSUMER PROTECTION ACT
2. In 1991, Congress ‘enacted the TCPA to regulate the explosive growth of the
telemarketing industry. In so doing, Corigress recognized that “[uJnrestricted,
telemarketing ... . cari be-an intrusive invasion of privacy.(.]" Telephone Consumer
Protection Act of 1991, Pub. L. No. 102-243,'§ 2(5) (1991) (codified at 47 U.S.C, § 227).
3. Although-actual monetary losses from telemarketing abuses are likely to. be
minimal; this private enforcement provision puts teeth inté the statute by’ providing for

Statutory damages and by allowing consumers to bring actions on their own:
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 7 of 21

Consumers who are harassed by telemarketing abusés can seek damages themselves,
rather than waiting for federal or state agencies to prosecute violations. Although § ©
227(f)(1):of the statute does authorize states fo bring actions on their citizens’ behalf,
the sheer number of calls made each day ---more than: 18,000,000 -- would make it
impossible for government entities alone to completély or effectively supervise this
activity. See Erienet; Inc. v, Velocity Net, Inc., 156 F. 3d 513,515 (3rd Cir. 1998) at 515

4, In. 2013, the FCC. required prior express written:consent for all autodialed or
prerecofded telemarketing calls (“robocalls") to Wireless numbers and residential lines.
‘Specifically, it ordered that:

tay ‘consumer's written consent to receive telemarketing robocalls. must bé
signed and_ be sufficient to show that the consumer: (1) received ' ‘Clear and.
Spe ans disclosure” of the consequences of providing: the requested
consent, i.¢:; that the consumer will receive future calls that deliver
ireserden messages by-or on behalf of a specific seller; and (2) having
received this information, agreés unambiguously to receive such calls ata
‘telephone number the consumer designates.[] In addition, the written
agreement must be obtained “without requiring, directly or indirectly, that
the agreement be executed as a condition of purchasing any good or
service:[]"

In the Matter of Rules & Regulations.Implementing the Tel. Consumer Prot. Act

of 1991, 27 F.C.C. Red. 1830, 1844 (2012) (footnotes omitted).

PARTIES
5: Plaintiff, Jeffrey M. Bower, at all material times hereto was located in Centre
County, Pen nsylvania.
6. Defendant National Administrative Service Co., LLC,,. (Hereinafter "NASC?), upon

information and belief is, a duly registered Ohio Corporation'and has a registered
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 8 of 21

address for service of process:and regular place of.business located at 5500-Frantz Rd,
‘Suite 100, Dublin, OH 43017. |

q, Defendant Affordable Auto Protection, LLC (Hereinafter “AAP"), Upon information
and belief; is-a duly registered Florida Limited Liability Company, and has a registered
address of 1665 Palm Beach Lakés Blvd, #215, West Palm Beach, FL 33401.

JURISDICTION AND VENUE

8, Venue is proper because Plaintiff was at-all material times. idcated in Centre

County, Pennsylvania when the violating telephone calls were madé to him.

9. This action is‘brought pursuaitt to the Téléphone Consumer Protection Act
(TCPA), 47 U.S.C. §'227.and Pennsylvania's “Unfair Tradé Practices and Consumer

Protection Law”, 73 P.S..§ 201-1 ef seq:

10. This court has jurisdiction aver this action pursuant to 47 U.S.C. § 227(b)(3),
which reads, in part:
“Private right of action. A person or entity may; if otherwise permitted By the laws
or rules of court of a State, bring in.an- appropriate. court of that State ... . (B) an

action to recover for actual’monetary, loss from ‘such a. violation, or to receive $500
_ in.damages for each such: violation, ‘whichever is:greater”.

ALLEGATIONS. APPLICABLE T O ALL COUNTS

 

41. Defendant NASC contracted with Defendant AAP to obtain new customers for
NASC..

12. _Defendant.NASC was permitted to market for and bind Defendant AAP into a
vehicle. service contract with Plaintiff.

13. Defendant NASC is vicariously liable for the acts.of Defendant AAP.
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 9 of 21

14. Hereinafter; thé.aforeméntioned Defendants will.be jointly referred to as
“Defendant” 3
19, Defendant or Defendant'siagent called Plaintiffs cellular telephone number (814-
xxx-0683) :
a) On.November 16, 2020 from a telephone number that appeared on
Plaintiff's caller identification as 267-223-6786,
b) On November 20, 2020 from a telephone number that appeared on
Plaintiff's caller identification: as 220-222-2733,
c) On November 22, 2020 froma telephone number that appeared on
Plaintiff's caller identification as 570-849-7949,
d) On.November 25, 2020 froma telephone number that appeared.on
Plaintiff's caller identification as 814-656-0947,
e) On December 1, 2020 from:a' telephone number that appeared on
Plaintiffs caller identificatioti as 814-902-8270,
f). On December 17, 2020 from a telephone number that appeared on
Plaintiff's caller identification as 814-326-1023, and
g) On January 6; 2021 from.a telephone number that:appeared on
Plaintiff's caller identification as 814-694-0962.
16. When Plaintiff answered the aforementioned calls, listed in.Paragraph. 15, above,.
Plaintiff heard a Pre-Recorded Message which. stated that his vehicle's factory warranty
is expired, this.is his final notice, last chance to extend, and to préss.a number to be

connectéd to an agent.
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 10 of 21

17, The pre-recorded message described in paragraph 16, above gives Plaintiff
reason to believe that. Plaintiff's telephone was called using an Automated Telephone
Dialing: System ("ATDS") as defined by the TCPA.

18. Upon answering the aforementioned calls, listed in Paragraph 15, above, Plaintiff
was marketed a vehicle service contract fortis automobile.

19. Plaintiff was never provided the name of the seller in any of the aforementioned
calls, listed jin Paragraph: 15, above, prior to the purchasing of the vehicle service
contract.

20, Plaintiff attempted to call back the telephone numbers which appeared on his
telephone caller ID; listed in Paragraph-15, above, and‘was unable to reach the
Defendant, ‘which give Plaintiff reason to bélieve that Defendant or/Defendant’s agent
used caller ID “spoofing” by transmitting false information to Plaintiff's.caller ID.

21, Dueto. Defendant or Defendant's. agent calling Plaintiff using caller ID “spoofing”,
Plaintiff was required to purchase the vehicle service contract the caller was marketing
to: determine who was making these unwanted, harassing, intrusive, telemarketing calls
to his cellular telephone despite Plaintiff's having registered his cellular telephone
number on the Federal and Pennsylvania Do-Not-Call Registry.

22. Defendant's action harmed Plaintiff by being a nuisance to Plaintiff.

23. Defendant's action harmed Plaintiff by intruding upon. Plaintiff's. seclusion, an
invasion to Plaintiff's privacy.

24. Defendant's action harmed Plaintiff by trespassing upon and interfering with
Plaintiff's rights and interest in Plaintiff's cellular telephone.

25: Defendant's-action harmed Plaintiff by intruding upon Plaintiff's seclusion.
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 11 of 21

26. Defendant's:action harmed Plaintiff.by causing Plaintiff aggravation and

annoyance:

 

TELEPHONE CONSUMER PROTECTION ACT SPECIFIC FACTS

27. This action is brought pursuant to the Telephone Consumer Protection Act

(TCPA), 47 U.S.C. § 227.
28. This court has jurisdiction over this.action pursuant to.47 U.S.C. § 227(b)(3).

“Private right of action. A person or entity may, if otherwise permitted by
the laws or rules:of court of a‘State, bring in an appropriate court of that:
State -... . (B).an action to recover for actual monetary loss from such a
“violation, or to receive $500 in damages for each such violation, whichever
is greater"

29. Defendant's calls to Plaintiff were to Plaintiff s-cellular telephone;

30. Plaintiff's cellular telephone number has:been registered on the National Do-Not-
Call Registry more than 30 days prior to the.calls described in Paragraph 15, above.

31. Plaintiffs cellular telephone number has been registered on the Pennsylvania
Do-Not-Call Registry quarterly publication:at least 30 days prior to the calls described in
Paragraph 15, above. |

32. Defendant is not an organization exempt from the*Telephone Consumer
Protection Act (‘TCPA’).

33. Defendant's calls to Plaintiff were a “telephone solicitation” as defined by the
TCPA:

34. Defendant's calls to Plaintiff were an‘“unsolicited advertisement” as-defined by

the TCPA.
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 12 of 21

35. Deferidant never iad an “established business telationship” with Plaintiff as:
defi ned.by. the TCPA. :

BB: Détefidant never received ¢ ‘prior express: ‘written’consent” te: contact: Plaintiff as”

     

“defi ned iby: the: Te PA.

~ PENNSYLVANIA UNFAIR: TRADE. PRACTICES ‘AND
: | SORSUMER PEGTECTION. LAW:

 

37 “Plaine purchased’ ‘a vehicie service. contract through an. ‘oral ‘agreement, with’
Defendant ¢ or Deferidant’s agent: during-a ai telephione: ‘Call-that was, initiated’ by. Peter

~ 30 Defendants’ agént on Jatiuary 6, 2021, “Séenvice- Contact Number DAE 005695.

 

38. Plaiiliftis 2 a consumer who pu rchaged this véhiéle-senvic coitract for hig

‘petsorial use:

 

| 22710) 36) by the Defendant. by, the: teeptine callls. described i in paragraph 18, above, :

vin nthe aimouint Of: $500. 00 for: wach ‘of. these: calls: |
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 13 of 21

42. Plaintiff was further statutorily da maged because.Defendant willfully or knowingly
violated this subsection of the TCPA. Plaintiff requests that the court treble the. damage
amount'as permitted under U.S.C.’§ 227(b)(3)(C) for these willful or Knowing violations.

WHEREFORE, Plaintiff Jeffrey M. ‘Bower respectfully requests. that judgment be.
entered in his favor and against, National Administrative Service Co., LLC and
Affordable Auto Protectich, LLG, jointly and:severally, in an amount of $10,500.00 pius
costs and any other remedy deemed appropriate.

- oo COUNT II: — deca
CALLING A CELLULAR TELEPHONE WITH THE USE OF “AN ARTIFICIAL OR
PRERECORDED VOICE” (“ATDS”) 47.U.S.C. § 227(b){1)(B)

43, Plaintiff incorporates by reference paragraphs 1 - 42 of this Complaint.as though
fully stated herein.

44. Defendant called Plaintiff's cellular telephone using an artificial or prerecorded
voice to.deliver a message without the Plaintiff . prior express consent.on at least seven
(7) occasions in violation of 47 U.S.C. §:227(b)(1)(B).

45. Plaintiff was statutorily damaged at least seven (7) times under 47 U.S.C. §
227(b)(3)(B) by the Defendant by the telephone-calls described in paragraphs 15 and
16, above, in the amount of $500.00 for each: of these calls.

46, Plaintiff was further statutorily damaged because: Defendant willfully or knowingly
Violated this subsection of the TCPA. Plaintiff requests that.the court treble the damage
amount as permitted under U:S.C. §-227(b)(3)(C) for these willful or knowing violations.

WHEREFORE, Plaintiff Jeffrey M. Bower respectfully requests’ that judgment be

entéred in his favor and againsi, National Administrative Service Co., LLC and
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 14 of 21

 

‘PRIOR’ TO THE TELEPHONE! rons Wee Fi R. § 64, ‘200(0)2),
a7, Piaiatift incorporates Py. téfererice spatagraphs’ V: 46. of: this Conipiaint a as though -

aly stated herein:

"48. Plaintif's telephone oumber has been registered.on the. Federal. Do Not Cail

 

  

“Registry since-at least 30'days: rior kG the: calls described i in Paragraph 45; above:

   

 

Ag: ‘Defendant: called Plaintiff telephone: at least, seven’ (7) times after’ Plait nt its.

 

‘felephone ‘iad been: iegistered, on. the Bo: Not Call: Registry for. at least 34 days: before:

   

| Defendant's, éalls, “in violation’ of: 47 C. E R. § 64. 1200(6)2).

‘50. Plaintif was! s Statuidly damaged at ast § seven @ times: under 47 Uz Ss C. &

at

 

227()(5)(B) | byt the. Defendant by. the: telephione calls ‘described in paragraph 15, ‘above.

ain: the amount of: $500. 00: for: each of the: seven. (7) telephone: Ealls::.

“BA! ‘Plait was: further statutorily: davriaged betause, Defendant willfully: oF knowingly :

 

violated: this: subsection ot the TC PA? Plaintiff requests that the caUt: Yeble thes Gamage

amount’ ‘as: permitted under U. S'§: 327(6) B)(C) for these willful: ‘or’ ‘knowing violatii S:.

   

  

: WAEREFORE! Plaintiff Jeffrey M E ower respectuly requests that judgrient be.

  
  
  

fin his: favot'andaga : {National Adiinistfative Service: C6. ‘LLG: and

 

 

“Affordable Auto. Protection; LLG; jointly, and: severally if an. amount! ‘of. $1 0, 500; 0 plus:

"tosis and any oihertemedy deemed appropriate:
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 15 of 21

 A@OUNTIV: © :
MAKING § SOLICITATIONS FOR SALES OF GOODS.OR SERVICES OVER: THE
’ WITHOUT FIRST CLEARLY, AFFIRMATIVELY: AND. EXPRESSLY:
STATINGS THE IDENTITY OF THE-SELLER; PENNSYLVANIA’S “UNFAIR.TRADE'
é AND PRACTICES AND:CONSUMER PROTECTION LAW’, 013. PS.§201-
: te at 2EAYXVIIAY :

 
    

"52; Blaintift incorporates iy: Talaréiice: Paragraphs 4 3:51-6f this. Cormpiaint as: though

fully. Stated: herein.
esti ie i oor NAR

“without fi rst: oiearly: affirmatively: and: expressly: stating the, identity” of the: Seller: toe a

  

‘Plaint : described’ “in | paragraph) 19; above, ‘a. violation éf 73: PS. §: 201-24 )(XVII)(A):

 

‘54: -Plaintift was: statutorily damaged" “at! least séven: 1 times’ by:' ‘Defendant byt the’

 

fale shore alts described i in. paragraph’ 15; above, and additional tines: that: rayber

 

 

alls, 73:

 

  

. Pe 8, $204: 9: 2)

‘85; Piaintif wae: further Statutorily: damaged: ‘because: Defendant Silay ‘or Keowingly .

 

56) Piaintit fu ther setulae: ‘costs; and: féasonable aitoriey fees: asi petmitted under:

73 PS: §207:9 2/3).

 

WHEREFORE, Plaintiff Jeffrey Me: ‘Bower: respectfully requests: that: ludgment be.

 

 

; entered'in his favor‘and obiaiat WEtcnaLADninisinat & Servite € Cé,;tLe' and:

 

     
 

Affordable Alito Protection, LLC, jointly and severally, lian amount Sf $2,100.00 pius.

    

-Go8ts, id reagofable attorney fees, as permitted by statute,and any other remedy,

deemed) appropriate.
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 16 of 21

 

“INETIAT NG'AN fort BOUND: UNWANTED. ‘SOLICITATIONTELEPHONE CALL TO: A.
PERSON. AFTER THEY. HAVE REGISTERED. THEIR: TELEPHONE NUMBER ON.
“THE PENNSYLVANIA DO-NOT-CALL LIST, PENNSYLVANIA’S:“TELEMARKETER
~"'REGISTRATION:ACT”,

‘73:P:S,§ 2245.2(A) .

 

* BZ Piainti incorpdrates vy reference: “paragraphs ts 56 of. this: Complaint as 5 though.

; “fully stated herein: ‘

   
   

°58, Defendant initiated outbound teléptioné:calls, listed in paragraph 15,,above; 10’

: Plaintiff when he: had previously stated through his reg} istration ‘on the Pennsylvania‘ Do-

  

 

Cal ‘ ét quarterly, publication: at least 30 days prior’ to the: calls described: in

 

15, above: ‘that fie: did not wis {i receive: any, outbound: ‘telephone ails tory

 

Defendant, a Violation: of: 73. P §2245(a)(2).-

   

59: The ‘Statutory: violation’ described’ ‘in| alagraphi 58; -above:i is: AI8O: a statutory |

 

vialation. of the Pennsyivania Uniair Trade and. Practices and Consumer Protection Law, ry

 

88. i ty doe a Atiedit saver ee te by Defendant ney te

ipefinitted under fot this willful throwing widlations: under 73. P: S: s2 : ore

62: Rlaiitit further ‘requests: costs, and: teasonablé atfomeys fees’ s peimittes under. :

   

“TSBS2§ 2015.218)y.
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 17 of 21

WHEREFORE, Plaihitiff Jeffrey M. Bower respectfully requests that judgment be
entered in his favor and against, National Administrative Service Co., LLC and
Affordable Auto Protection, LLC, jointly and severally, in an amount of $2:100:00 plus
costs, and reasonable attorney fees, as permitted by statute, and any other remedy:
déemed appropriate.

aA wall __ COUNT VI: aa
"BLOCKING OF CALLER IDENTIFICATION, PENNSYLVANIA'S “TELEMARKETER:
REGISTRATION ACT” 73 P.S. § 2245.1

63. Plaintiff incorporates by reference paragraphs 1 - 62 of this. Complaint as. though
fully stated herein.

64. Defendant or Deféndant’s Agent initiated outbound telephone calls, listed in
paragraph 15 and 20, above, to Plaintiff that contained false caller identification
information, a violation of 73 P.S.§ 2245.1.

‘65. The statutory violation described ‘in: patagraph 64, above is also-a statutory.
violation of the Pennsylvania Unfair Trade and Practices and Consumer Protection Law,
73 P.S.§ 2246 (a).

66. Plaintiff was statutorily damaged at least seven (7) times by Defendant by the
telephone calls described in paragraph 15.and 20, above, and additional times’that
maybe:found through discovery in the amount of $100.00 for each of these telephone
calls, 73 P.S. § 201-9.2(a).

67. Plaintiff was further statutorily damaged because Defendant willfully or knowingly
‘violated this statute. Plaintiff requests that the court treble the damage amount.as

permitted under for this willful or knowing violations under 73 P.S. § 201-9.2(a).
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 18 of 21

68: Plaintiff further requests.costs, and feasonable attorney feés’as permitted under
73 P.S: § 201-9.2(a),

WHEREFORE, Plaintiff Jeffrey M. Bower respectfully requests that judgment be
entered in his favor and against, National Administrative. Service Co,, LLC and
Affordable Auto. Protection, LLC, jointly and severally, in an amount of $2,100.00 plus.
costs, afd reasonable attorney fees, as permitted by statute, and any other remedy
deemed appropriate.

SUMMARY OF PRAYER FOR RELIEF

WHEREFORE, Plaintiff Jeffrey M. Bawer respectfully requests that judgment be
‘entered in his favor and against Natianal Administrative-Service Co,, LLC and
Affordable Auto Protection, LLC, jointly and severally:in an BinoUatde be.more fully
determined at time of trial, but at least $37,800.00, as:permitted by statute, a8 follows.

1. Statutory damages of $500.00 foreach and every violation of 47 U.S.C.'§
* 227(b)(3)(B);

2: Treble damages for each violation determined to be willful’ and/or knowing
pursuant to 47 U.S.C. § 227(b)(3)(C);

3. Statutory damages of $500.00 for each and. every violation of 47 U.S.C. §
227(c)(5)(B):

4, Treble damages for each violation determined to be willful and/or knowing
pursuant to 47 U.S.C. § 227(c)(5)(C);

0, Statutory damages of $100.00 for each and. every violation of 73 P.S..§ 201-
9.2(a);

6: Treble damages for each violation determined to be willful and/or knowing
pursuant to 73 P.S. § 201-9.2(a);

7. Costs. and reasonable aitorney fees as permitted under 73 P_S. § 201-9.2(a);
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 19 of 21

8. Any‘and all other relief that the’Couirt deems just and proper.

BOWER LAW ASSOCIATES, PLLC

  
  
  

By:

 

. ._ fAgtemy & Jackson, Esq.
/Attoméy for Plaintiff ~—
‘403. South Allen Street, Suite: 210
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PA 321557
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 20 of 21

IN THE COURT OF COMMON PLEAS OF CENTRE-COUNTY; PENNSYLVANIA.
CIVIL ACTION - LAW

Plaintiff  : NO, 2021-CRA\

NATIONAi ADMINISTRATIVE SERVICE CO.,,
LLC: and:
AFFORDABLE AUTO. PROTECTION, Lc,

JEFFREY M. BOWER,

V,

Defendants :
VERIFICATION

I, JEFFREY M: BOWER, Verify that the statemerits made in this Complaint are
true and correct to the best of my knowledgé, information and bélief. | understand that
the statements herein are made subject to the penalties of 18 Pa. Cs. $ 4904, relating

to unsworn falsification to authorities.

Jeffrey MM. Bower, Plaintiff

 
Case 4:21-cv-00998-MWB Document 1-1 Filed 06/03/21 Page 21 of 21

CERTIFICATE‘OF COMPLIANCE

L.certify that this filing complies with the provisions of the Case Records PublicAccess .
Policy of the Unified Judicial System nf Pennsylvania that require filing con fidential in formation

and documents differently than non-confi dential information and documents.:

Submitted by: Cgtfnsel for Plaintiff
Signature: Z —-
Jackson, Esq.
Attorney No. (if applicable): 321557.

    

Rev. 7/2018
